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B 8 (Official Form 8) (12/08)

                                        UNITED STATES BANKRUPTCY COURT
                                                    District of Maryland

In re                           Mark E Kane   Christina M Kane          ,           Case No.
                                          Debtors                                                    Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)


   Property No. 1

   Creditor's Name:                                               Describe Property Securing Debt:
   Chrysler Financial                                             2008 Jeep Commander, Kelley Blue Book value


   Property will be (check one):
           Surrendered                              Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 2

   Creditor's Name:                                               Describe Property Securing Debt:
   EMC Mortgage                                                   1100 Lapidum Road, Havre de Grace, MD


   Property will be (check one):
           Surrendered                              Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt
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   Property No. 3

   Creditor's Name:                                               Describe Property Securing Debt:
   EMC Mortgage                                                   1100 Lapidum Road, Havre de Grace, MD


   Property will be (check one):
           Surrendered                          Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 4

   Creditor's Name:                                               Describe Property Securing Debt:
   Harley Davidson Credit Corp.                                   2008 Harley-Davidson FXDF Dyna Fat Bob, Kelley
                                                                  Blue Book value

   Property will be (check one):
           Surrendered                          Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 5

   Creditor's Name:                                               Describe Property Securing Debt:
   Wilmington Trust Co.                                           2007 Dodge Caliber, Kelley Blue Book value


   Property will be (check one):
           Surrendered                          Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))
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   Property is (check one):
           Claimed as exempt                                    Not claimed as exempt



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)


   Property No. 1

   Lessor's Name:                           Describe Leased Property:                    Lease will be Assumed pursuant
                                                                                         to 11 U.S.C. § 365(p)(2):
   None
                                                                                             YES            NO



   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 6/23/2010                                              s/ Mark E Kane
                                                             Mark E Kane
                                                             Signature of Debtor

                                                             s/ Christina M Kane
                                                             Christina M Kane
                                                             Signature of Joint Debtor (if any)
